      CASE 0:11-cr-00228-MJD-JJK       Doc. 301    Filed 06/12/12   Page 1 of 2




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

United States of America,

      Plaintiff,
v.                                                  ORDER
                                                    Crim. No. 11‐228 (MJD/JJK)

Patrick Joseph Kiley (03),

      Defendant.
___________________________________________________________________

      David J. MacLaughlin and Tracy L. Perzel, Assistant United States
Attorneys, Counsel for Plaintiff.

      H. Nasif Mahmoud, McKenzie, Wilkes & Mahmoud, and David E. Zins,
Counsel for Defendant Patrick Kiley.
___________________________________________________________________

      This matter is before the Court on Defendant Patrick Kiley’s second motion

for judgment of acquittal pursuant to Rule 29 of the Federal Rules of Criminal

Procedure.

      “Rule 29 (a) provides that the district court ‘must enter judgment of

acquittal of any offense for which the evidence is insufficient to sustain a

conviction.’” United States v. Cacioppo, 460 F.3d 1012, 1021 (8th Cir. 2006).

      A district court must consider a motion for judgment of acquittal with
      “very limited latitude” and must neither assess the witnessesʹ credibility


                                          1
        CASE 0:11-cr-00228-MJD-JJK     Doc. 301   Filed 06/12/12   Page 2 of 2




        nor weigh the evidence. Rather, the district court must view the evidence
        in the light most favorable to the government, resolving evidentiary
        conflicts in the governmentʹs favor and accepting all reasonable inferences
        drawn from the evidence supporting the juryʹs verdict.

United States v. Johnson, 474 F.3d 1044, 1048 (8th Cir. 2007) (citations omitted).

Applying this standard to the evidence presented at trial, the Court finds that

sufficient evidence has been presented as to each charge against Defendant Kiley.

Accordingly, the motion will be denied.

        IT IS HEREBY ORDERED that Defendant Patrick Kiley’s Motion for

Judgment of Acquittal [Doc. No. 296 and 298] is DENIED.




Date:    June 12, 2012
                                 s/ Michael J. Davis
                                 Michael J. Davis
                                 Chief Judge
                                 United States District Court




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